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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT

PENNSYLVANIA HIGHER EDUCATION               )
ASSISTANCE AGENCY,                           )
                                             )
                      Plaintiff,             )
                              v.             )
                                             )
                                             )
JORGE L, PEREZ, in his official capacity as )      CIVIL ACTION
Commissioner of the Connecticut Department )
of Banking,                                  )      NO. 18-cv-1114
                                             )
the CONNECTICUT DEPARTMENT OF                )
BANKING,                                     )
                                             )
BETSY DEVOS, in her official capacity as     )
Secretary of the United States Department    )
Of Education,                                )
                                             )
and                                          )
                                             )
the UNITED STATES DEPARTMENT                 )
OF EDUCATION,                                )
                                             )
                      Defendants.            )
                                             )

       FEDERAL DEFENDANTS’ ANSWER TO THE AMENDED COMPLAINT

       On September 13, 2019, the Court granted in part and denied in part the Motion to

Dismiss filed by Defendants the United States Department of Education and its Secretary, Betsy

DeVos (Federal Defendants). See Ruling Fed. Defs.’ Mot. Dismiss (Ruling), ECF No. 59.

Specifically the Court dismissed Plaintiff Pennsylvania Higher Education Assistance Agency’s

(PHEAA) interpleader claim against Federal Defendants. Id. at 14. The Court also held that

PHEAA otherwise “fails to allege a cause of action against the Federal Defendants over which

this Court has jurisdiction.” Id. at 15. However, the Court also concluded that PHEAA could




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join Federal Defendants under Rule 19 “for the limited purpose of binding [them] to this Court’s

judgement on the preemption issue.” Id. at 2.

       Because Federal Defendants have been joined to this action “simply . . . for purposes of

res judicata,” id. at 31, and where the Court has held there are no viable claims against Federal

Defendants, it is the position of Federal Defendants that they need not file an Answer to the

Amended Complaint. See, e.g., Fed. R. Civ. Pro. 12(b)(1) (“In responding to a pleading, a party

must: (A) state . . . its defenses to each claim asserted against it; and (B) admit or deny the

allegations asserted against it by an opposing party.”). However, in the event that an Answer is

deemed required, Federal Defendants answer Plaintiff’s Amended Complaint, ECF No. 34, as

follows:

       In response to the first unnumbered paragraph in the complaint, this paragraph consists of

Plaintiff’s characterization of this action and statement of their case to which no response is

required. To the extent a response is required, on September 13, 2019, this Court dismissed

Plaintiff’s interpleader claim against Federal Defendants, and held that Plaintiff raised no other

cause of action against Federal Defendants. See Ruling at 14-15.

       In response to the numbered sections of the Complaint, Federal Defendants answer as

follows:


       1. Admit.


       2. Admit.


       3. Admit.


       4. The first sentence purports to characterize the legal position of Federal Defendants, to

which no response is required. To the extent that this sentence refers to statements made by

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Federal Defendants in a letter dated April 2, 2018, see Am. Compl. ¶¶ 51-53, Federal Defendants

respectfully refer the Court to that letter for a complete and accurate statement of its contents.

The second and third sentences are admitted to the extent that Federal Defendants instructed

PHEAA not to produce the documents to the Connecticut Department of Banking (Connecticut

DOB) and that PHEAA has complied with this instruction.


       5. Federal Defendants admit the first clause of this sentence: that they have directed that

any requests for documents from the Connecticut DOB be addressed to Federal Defendants.

Regarding the second clause of this sentence, Federal Defendants admit that they have not

produced the documents directly to the Connecticut DOB and further aver that they have never

received a request for the documents from the Connecticut DOB.


       6. This paragraph consists of legal conclusions to which no response is required.


       7. This paragraph consists of Plaintiff’s characterization of this lawsuit and legal

conclusions to which no response is required.


       8. This paragraph consists of Plaintiff’s characterization of this lawsuit and legal

conclusions to which no response is required.


       9. Federal Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.


       10. This paragraph consists of Plaintiff’s characterization of this lawsuit and legal

conclusions to which no response is required.




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       11. This paragraph contains a request for relief to which no response is required. To the

extent a response is deemed required, Federal Defendants deny that Plaintiff is entitled to the

relief requested from Federal Defendants or any relief from Federal Defendants.


       12. Admit.


       13. Admit.


       14. Federal Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.


       15. Admit.


       16. Admit.


       17. This paragraph sets forth Plaintiff’s assertions of jurisdiction and thus contains

conclusions of law to which no response is required.


       18. This paragraph sets forth Plaintiff’s assertions of jurisdiction and thus contains

conclusions of law to which no response is required.


       19. Federal Defendants admit the first sentence of this paragraph. The remainder of this

paragraph consists of legal conclusions to which no response is required.


       20. This paragraph sets forth Plaintiff’s assertions of venue and thus contains

conclusions of law as to venue to which no response is required.


       21. Admit.


       22. Admit.



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       23. Admit.


       24. Admit.


       25. Admit.


       26. Admit.


       27. This paragraph consists of legal conclusions to which no response is required.


       28. Admit.


       29. Insofar as the Complaint does not provide a timeframe for the statistics provided in

this paragraph and the Federal Defendants do not have information on private student loans

serviced by PHEAA, the Federal Defendants lack knowledge or information sufficient to form a

belief about the truth of the allegations in this paragraph. The Federal Defendants’ records

indicate that, as of June 30, 2019, PHEAA services federally-owned loans for approximately

77,000 borrowers with addresses in Connecticut.


       30. Federal Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.


       31. This paragraph consists of legal conclusions to which no response is required.


       32. Admit.


       33. Admit.


       34. Admit.




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       35. Federal Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.


       36. Federal Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.


       37. Admit.


       38. Federal Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.


       39. Federal Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.


       40. Federal Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.


       41. Federal Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.


       42. Federal Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.


       43. Federal Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.


       44. Admit.


       45. Federal Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.

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       46. Admit.


       47. Federal Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.


       48. Admit.


       49. Admit.


       50. Admit.


       51. Admit.


       52. Admit.


       53. Admit.


       54. Federal Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.


       55. Federal Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.


       56. Admit.


       57. Federal Defendants admit that the quoted material appears in the Memorandum

referenced in this paragraph and respectfully refer the Court to the cited document for a full and

accurate statement of its content.


       58. This paragraph consists of legal conclusions to which no response is required.




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       59. Federal Defendants admit that the quoted material appears in the Memorandum

referenced in this paragraph and respectfully refer the Court to the document for a full and

accurate statement of its content.


       60. Federal Defendants lack knowledge or information sufficient to form a belief about

the truth of the allegations in this paragraph.


       61. Admit.


       62. This paragraph consists of Plaintiff’s characterization of the Notice published by

Federal Defendants on March 12, 2018. Federal Defendants respectfully refer the Court to that

Notice for a full and accurate statement of its contents.


       63. Federal Defendants admit that the quoted material appears in the Notice referenced

in this paragraph and respectfully refer the Court to the document for a full and accurate

statement of its contents.


       64. This paragraph consists of Plaintiff’s characterization of the Notice published by

Federal Defendants on March 12, 2018. Federal Defendants respectfully refer the Court to that

Notice for a full and accurate statement of its contents.


       65. Insofar as the terms “continually pressed” and “the same or similar positions” are

undefined and vague in this context, Federal Defendants lack knowledge or information

sufficient to form a belief about the truth of the allegations in this paragraph.


       66.     This paragraph incorporates by reference paragraphs 1 through 65 of the

Amended Complaint. In response, Federal Defendants incorporate by reference their responses

to paragraphs 1 through 65 of the Amended Complaint, as set forth above.

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        67-77. These paragraphs concern Count One, Plaintiff’s Interpleader Claim against all

defendants. No response to these paragraphs is required because this claim, as asserted against

Federal Defendants, was dismissed by the Court on September 13, 2019. See Ruling at 14

(“[T]he Federal Defendants’ motion to dismiss is GRANTED as to PHEAA’s claim for

interpleader relief.”).


        The unnumbered paragraph on page 17 of the Amended Complaint sets forth PHEAA’s

prayer for relief concerning its Interpleader Claim, to which no response is required. Moreover,

this claim as asserted against Federal Defendants was dismissed by the Court on September 13,

2019. See Ruling at 14.


        78.     This paragraph incorporates by reference paragraphs 1 through 77 of the

Amended Complaint. In response, Federal Defendants incorporate by reference their responses

to paragraphs 1 through 77 of the Amended Complaint, as set forth above.


        79-88. These paragraphs concern Count Two, Plaintiff’s purported Declaratory Judgment

(Field Preemption) claim against all defendants. No response to these paragraphs is required,

because Count Two, as asserted against Federal Defendants, was dismissed by the Court on

September 13, 2019. See Ruling at 15 (“PHEAA fails to allege a cause of action against the

Federal Defendants over which this Court has jurisdiction; therefore, it may not seek a

declaratory judgment against the Federal Defendants.”).


        89.     This paragraph incorporates by reference paragraphs 1 through 88 of the

Amended Complaint. In response, Federal Defendants incorporate by reference their responses

to paragraphs 1 through 88 of the Amended Complaint, as set forth above.




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       90-98. These paragraphs concern Count Three, Plaintiff’s purported Declaratory

Judgment (Conflict Preemption) claim against all defendants. No response to these paragraphs is

required, because Count Three, as asserted against Federal Defendants, was dismissed by the

Court on September 13, 2019. See Ruling at 15 (“PHEAA fails to allege a cause of action

against the Federal Defendants over which this Court has jurisdiction; therefore, it may not seek

a declaratory judgment against the Federal Defendants.”).


       The unnumbered paragraph on page 22 and sub-paragraphs (a)-(c) set forth PHEAA’s

prayer for relief concerning Counts Two and Three to which no response is required. Moreover,

these claims as asserted against Federal Defendant were dismissed by the Court on September

13, 2019. See Ruling at 15.


       Federal Defendants hereby deny all allegations in Plaintiff’s Amended Complaint not

expressly admitted or denied.


                                     AFFIRMATIVE DEFENSES


       1.      The joinder of Federal Defendants to this action is barred by sovereign immunity.


       2.      Plaintiff fails to state a claim against Federal Defendants. See Ruling at 22

(“PHEAA fails to allege a cause of action falling within this Court’s jurisdiction.”).


       3.      Federal Defendants may not be joined to this suit because Plaintiff has not stated a

cause of action against them.


       4.      Plaintiff lacks Article III standing to bring suit against Federal Defendants.


       5.      The Court lacks subject matter jurisdiction over the action as it pertains to Federal

Defendants.

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Dated: September 27, 2019                 Respectfully submitted,


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